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 4   Email: michael@hingle-law.com
 5   Attorney for Defendant
     SECUNDINO ESQUIBEL
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 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                        Case No.: 2:15-CR-00164 TLN
11
                    Plaintiff,                        STIPULATION AND ORDER TO
12                                                    CONTINUE SENTENCING HEARING
            vs.
13                                                    Date: September 6, 2018
     SECUNDINO ESQUIBEL, et al.,                      Time: 9:30 a.m.
14                                                    Court: Hon. Troy L. Nunley
                    Defendants.
15
16          The parties to this action, Plaintiff United States of America by and through Assistant
17   U.S. Attorney Samuel Wong, and attorney Michael E Hingle on behalf of defendant Secundino
18   Esquibel, stipulate and submit this request to continue the dates presently set for judgment and
19   sentencing in the above – referenced matter from July 26, 2018, at 9:30 A.M to September 6,
20   2018 at 9:30 A.M. Defense counsel needs additional time due to current medical issues with his
21   left eye, which have been ongoing since the last week of June, and may very well require surgery
22   shortly. After any anticipated surgery, defense counsel will need a period of time to recover
23   before working and driving.
24          The Government does not oppose the request. It is therefore requested that the Court
25   continued its previously-set Sentencing in the above-referenced matter until September 6, 2018.
26          This Request follows a guilty plea so an exclusion of time pursuant to the Speedy Trial
27   Act is not required. Assistant U.S. Attorney Samuel Wong has reviewed this stipulation and
28   proposed order and authorized Michael E. Hingle to sign it on his behalf.
                                                 1
     Order Continuing Sentencing Hearing and Modifying PSR Schedule.
     2:15-cr-00164 TLN
              Case 2:15-cr-00164-TLN Document 127 Filed 07/24/18 Page 2 of 2


 1
 2   Dated: July 24, 2018                                 McGREGOR W. SCOTT
 3                                                        By: /s/ Michael E. Hingle for
 4                                                        SAMUEL WONG
                                                          Assistant United States Attorney
 5
 6   Dated: July 24, 2018                                 /s/ Michael E. Hingle
 7                                                        Michael E. Hingle
                                                          Attorney for Defendant Secundino
 8                                                        Esquibel
 9
                                               ORDER
10
            The Judgment and Sentencing Hearing in this matter is continued to September 6, 2018,
11
     at 9:30 AM.
12
13
            IT IS SO ORDERED.
14
15
     Dated: July 24, 2018
16
                                                        Troy L. Nunley
17                                                      United States District Judge

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     Order Continuing Sentencing Hearing and Modifying PSR Schedule.
     2:15-cr-00164 TLN
